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l’
CAROLYN HERZ SRIVASTAVA,

Plaintiff,
3 1 () 0 9 3 2

vs. Cause no.

CORPORATION, VAN CLUCK, PATRICIA
MORRELL, ARNOLD BIENSTOCK, ERIC
BRAM, JONATHAN ADLAND, ORA HIRSCH
PESCOVITZ, and DAVID F. HAl\/HLTON,

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BLAKEFoRD AT GREEN HrLLs ) jUDGE HAYNES

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Defendants. )

COMPLAINT AND JURY:DEMAND

 

1. Plaintiff brings a complaint against defendants for a pattern of racketeering that affects inter-
state commerce and that, in defendants’ pursuit of monetary gain, has deprived plaintiff of money and
other property. Pursuant to Fed.R. Cz`v.P. 38(b), plaintiff demands a j ury trial.

I. JURISDICTION AN]) VENUE

2. This action arises under a federal statute, specifically Title 9 of the Organized Crime Control
Act of 1970, as amended, 18 U.S.C. §§ v1961-19168 (“RICO”); and state torts. Jurisdiction of federal dis-
trict court is invoked pursuant to 28 U.S.C. §§ 1331 and 1367 and 18 U.S.C. § 1964.

3. Venue is proper in the Middle District of Tennessee, Nashville Division pursuant to 28 U.S.C.
§ 123 (b)(l); 28 U.S.C. § 1391 (b)(2) and (3); and 18 U.S.C. § 1965 (a) and (b), because some defen-
dants transact their affairs in this district; some defendants reside in this district; and a substantial part of
the events giving rise to the claims stated have occurred in this district,particularly in Davidson County.

II. PARTIES

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4, a. Plaintiff Carolyn Herz Srivastava, Ph.D, is an unemployed single Jewish citizen of Marion
`County, Indiana,l where she has resided from 1985 through the date of filing this complaint, the past
181/2 of those years as a homeowner in the College Park residential subdivision I (plaintiff) have been
unmarried continuously from July 2, 1993 up to the present l was-previously married to Arun Srivas-
tava, who is a Hindu originally from India, and who is not a physician and obviously not a rabbi.
b. Because defendants have persistently, over a period of many years, perpetrated a pattern of
identity theft against me, I have attached true and accurate photographs of myself, plaintiff Carolyn H. 1
Srivastava, along With al true and accurate copy of my most recent passport,2 hereto as Exhibit 1. I am
about 5 feet 2 inches tall, of slight build, weighing 105-110 pounds, with unusually small bones.

`5. Defendant Blakeford at Green Hills Corporation (hereinafter, “Blakeford”) operates a nursing
home comprising independent living apartments, assisted living suites, a skilled nursing facility called
Woodcrest at the Blakeford, and locked “Memory Care Center,” in Davidson County, Tennessee.
Woodcrest at the Blakeford advertises that it provides Intemet access to patients.

6. Defendant Van Cluck is the Chief EXecutive Offlcer of Blakeford.

7. Defendant Patricia Morrell (“Morrell”) is the domestic partner of my sister Marian Herz
(“Marian”). As the product of a severely dysfunctional family, she has used her status to maliciously in-
cite my Sister into extreme anger against me, with intent to break up our family and enrich herself She
has also perpetrated a pattern of stealing my identity. She currently resides in Wilson County, Tennes-
see, but she has made many trips to Indianapolis to visit my parents and me, perpetrating-injuries in ln-

diana.

 

1 All references to Marion County in this complaint are to Marion County, lndiana, which includes the city of In-
dianapolis. ‘

2 I have redacted information that could be used to commit further identity theft against me. I am aware that the
passport has expired and is therefore not valid for travel, or for voting in Indiana. I have not renewed it because I
am considering petitioning a court to change my name back to Carolyn Herz. l

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8. Defendant Arnold Bienstock (“Bienstock”) has been the rabbi of Congregation Shaarey Tefilla
(“Shaarey Tefilla”), a Jewish congregation located in lndiana, from 1997 through the date of filing this
complaint 1 (plaintiff) worshipped at Shaarey Tefilla from July 2008 _ February 2009, when I fled in
fright because Bienstock was behaving in a threatening manner toward me. Bienstock has exhibited a
propensity for meddling in other people’s private affairs including manifesting an obsession with their
illnesses, for enriching himself with others’ money, and for spreading false defamatory gossip. Bien-
stock has been spreading false information that I' allegedly arn married to him, and using that delusion to
justify interfering in my life.

9. Defendant Eric Bram (“Bram”) was senior rabbi of the Indianapolis Hebrew Congregation, a
Jewish religious congregation, from`approximately July 1, 1995 through June 30, 2002. His reputation
was that he hit on every woman in the congregation He has perpetrated a practice of fabricating crimi-
nal complaints against female congregants who refuse to have sex with him.

10. Defendant Jonathan Adland (“Adland”) has held the position of senior rabbi of the Indian-
apolis Hebrew Congregation from approximately July 1, 2003 through the date of filing this complaint,
however, the decision to hire him was made in late 2002. Even though I have not been a member of In-
dianapolis Hebrew Congregation during his tenure there, he has exploited his position to interfere.in and
disrupt my life and steal my money.

11. Defendant Physioian-scientist Dr. Ora Hirsch Pescovitz, the daughter of respected liberal
Rabbi Richard Hirsch and the wife of surgeon Dr. Mark Pescovitz, has been an influential member of
the Jewish community She is currently an important person at the University of Michigan, where she
holds the prestigious positions of Executive Vice President for Medical Affairs and Professor of Pediat-
ries and Communicable Diseases irl the University of Michigan Medical School, and Chief Executive

Officer of the University of Michigan Health Systemi Physician-scientist Dr. Ora Hirsch Pescovitz has

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received numerous awards and honors, and has been featured in many prestigious periodicals Her area
of medical practice has always been pediatrics

12. Defendant David F. Hamilton (“Hamilton”), the son of respected liberal Methodist minister
Richard Hamilton, was a judge of the U.S. District Court for the Southern District of Indiana from Octo-
ber 1994 through November 2009. Currently, he is a circuit judge on the U.S. Court of Appeals for the
Seventh Circuit. As a U.S. District Judge, Hamilton heard several cases in which 1 was the pro se plain-
tiff Hamilton exhibited virulent animosity toward me as a pro se, non-attorney plaintiff and “uppity”
woman to the extent that he used the cases to commit numerous crimes against me. He also interfered in
cases assigned to other judges and in my state court cases to discredit me and deny me relief for serious
injuries Hamilton has shown himself to be a judicial bully. 1n this action, he is being sued for acts n_ot
occurring in connection with duties performed on the United States’ behalf

l]I. ALLEGATIONS IN SUPPORT OF COMPLAINT
A. General background

13. Defendants have organized a criminal enterprise, to which 1 have referred as the “Syndicate,”
around the sociopathic behavior of defendant Ora Hirsch Pescovitz. Ora Hirsch Pescovitz and her al-
leged husband moved to the Indianapolis area in 1988.

14. Ora Hirsch Pescovitz’s parents, Who apparently did not discipline her, indoctrinated her with
the idea that her status as a rabbi’s daughter entitles her to special favors and benefits not available to
other, lower status (in her mind) individuals She has spent her adult life obtaining numerous benefits to
which she is not entitled based on merit, and disrupting others’ lives through a pattern of anti-social be-
havior that includes the following:

1) She has manifested an obsession with sex, manipulating gullible men in positions of
power with sex, or alternatively aggressiver committing criminal deviate conduct against unsuspecting

men, and then blackmailing them with threats that she will accuse them of raping her. She also, with the

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acquiescence of defendants, forces women and subordinates to perform oral copulation on her, and per-
petrates acts of vicious retaliation against anyone who refuses to perform this disgusting act.

2) She is extremely vindictive, conferring on herself to viciously retaliate for any real or per-
ceived slight. She also regularly flies into rages of extreme7 uncontrolled jealousy, seeking to destroy
anyone who obtains a benefit that she does not also obtain In her mind, life is a zero sum competition:
anyone else’s gain is by defmition, her loss.

3) She disrupts the functioning of organizations of all types: businesses, schools, nonprofits,
govermnent, by inducing office staff to falsify organization records, to forge officers’ signatures to
documents, and to help her steal money from the organization"s treasury.

4) She maintains files of detailed personal information on everyone with whom she interacts
for use as blackmail.

5) She seeks to portray herself as an upstanding citizen, one of the intellectual, cultural, and
religious elite, even as she works behind the scenes to manipulate gullible individuals to do her “dirty
wor ” for her, with intent that others will take the punishment v

6) She tortures defenseless animals

7) She abuses controlled substances and has induced many other individuals to do the same,
by both causing them extreme stress and overtly offering them the drugs.

8) She has perpetrated a twenty-year long practice of secretly following me wherever 1 go,
parasitizing my identity, taking all of my achievements and positive traits for herself and attributing to
me all of her serious psychological problems and anti-Social behavior 1 see her as a sham and a fraud
and a boulder chained to my ankle 1 do not want Ora Hirsch Pescovitz in my life.

15 . Syndicate members, including defendants, have wholeheartedly embraced Ora Hirsch Pesco-

vitz’s maladaptive, extraordinarily selfish behavior pattern, emulating her serious misconduct and using

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her as their tool in their own pursuit of power and other people’s money. They have used their positions
to divert peopleis anger at Ora Hirsch Pescovitz to me, to punish me for her destructive behavior.

16. ,Syndicate members have sought to conceal their activities by using a code in which common
words are given sexual meanings Thus, those who use oral sex as barter are termed “friends” who
“like” each other, “talk” to each other, and “want” each other. They characterize themselves and their
actions as “good.” The sexual barter begins with the individual holding the position of power asking,
“What can 1 do for you?” Another introductory remark, particularly between women, is, “1 like your
.(dress, shoes, etc.).” Oral copulation in exchange for material favors, i.e. prostitution, follows

17. Ora Hirsch Pescovitz, with the support of the other defendants, has hurt many, many people,
even those whom she has designated as her “friends.”

18. Other Syndicate members, including defendant Patricia Morrell, have imitated Gra Hirsch
Pescovitz by committing identity theft against me, engaging in misconduct and taking legal action in my
name.

19. Defendants Eric Bram, Arnold Bienstock, Jonathan Adland, Ora Hirsch Pescovitz, and David
F. Hamilton have exploited their status as clergy/clergy offspring to confer on themselves a right to do
whatever they want without interference by government law enforcement, under a bizarre, self-serving
theory of “religious doctrine and practice” privilege The Supreme Court of the United States has spe-
cifically disallowed that notion. v

20. Mere occupation of a position of power and prestige is no guarantee of personal integrity,
courage and competence Some people, no matter their station in life, are easily corrupted Others are
easily intimidated
B. Interference in plaintiffs personal life

21. 1 (plaintiff) first encountered Ora Hirsh Pescovitz in approximately 1989 at the lndianapolis

Jewish Community Center, where our children were students in their preschool. After a brief assess-

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ment, she [incorrectly] characterized me as a doorrnat who would be easy to exploit She had already
used her status as a rabbi’s daughter to burrow her Way into the dysfunctional Indianapolis Jewish com-
munity.

22. 1.was a dues-paying member of lndianapolis Hebrew Congregation from April 1992 until
June 1999. In 1992 and 1995 I received letters from 1ndianapolis-Hebrew Congregation conferring on
me a property interest in worship and other activities there, in that they particularly contemplated my
long-term participation in worship and other Indianapolis Hebrew Congregation activities

23. 1 began worshipping at Congregation Beth-El Zedeck in Indianapolis in September 2003, and
subsequently applied for membership there. 1n December 2003, 1 received a letter from the president
welcoming me to membership in Beth-El. Also in December 2003, another member of the l3eth-El
Board of Directors telephoned me to discuss my membership dues

q 24. In September 2007, in response to payment of $90.00, 1 received a receipt welcoming me to l
worship at Congregation B’nai Torah, an Orthodox .1 ewish congregation located inIndianapolis, in the
years 2007-2008.

25 . Ora Hirsch Pescovitz has manipulated gullible men to exclude me from those Jewish congre-
gations based on her misconduct to prevent me from worshipping in my religion Defendants Amold
Bienstock, Eric Bram, and Jonathan Adland, who have abused their clergy titles to require women to
perform oral sex on them in exchange for permission to participate in Jewish religious worship, have
been an important part of this effort Hamilton’s intent in participating in this activity has been to force
me to convert to Christianity. v

,26. Hamilton has abused the enormous power accorded a federal judge to unlawfully monitor my
activities, communicating the information gleaned to malevolent private citizens, particularly defendants
Pescovitz, Bram, Bienstock, and Adland, to interfere in and disrupt every aspect of my life. He has also
taken advantage of the high esteem in which federal judges are held to spread slanderous gossip that 1 .

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am allegedly crazy. Such behavior is typical of perpetrators of domestic violence and other bullies, With
intent to isolate me from friends, and family, to blacklist me from paid employment and to prevent my
admission to law school. 11e has abused his judicial power to beat me into a pulp.

27. Everyone who owns property in College Park must become a member of our homeowners’
association College Park Club, Inc. Defendants have employed fraud, slander, and intimidation to keep
me off the board because they know 1 Will insist on absolute integrity and transparency in the manage-
ment of College Park Club affairs, and 1 will not allow them to continue their practice of unlawfully di- ,
verting College Park Club assets to their own personal use. Currently, 1 am running for the College Park
Club Board of Directors, and defendants are running one of their compliant tools opposite me for the
sole purpose of preventing me from serving
C. Interference with familial relations

28. Ora Hirsch Pescovitz has sought to disrupt my family, to steal our assets to purchase drugs
for herself and to parasitize my life. 1n order to accomplish this, she recruited defendant Patricia Morrell
to worm her way in as Marian’s domestic partner

29. Bram, Bienstock, Pescovitz, Hamilton, and Adland have used their positions and status to
confer on themselves some entitlement to control my life, and to destroy not only my life, but that of my
son, to use slander and identity theft to disrupt his education and impede his career.

30. Many of the claims in this particular complaint stem from defendants’ abusive treatment of
Julian Herz, my elderly father (hereinafter, “my father”) during the period October 2009 up to the pre-
sent to unlawfully obtain control over his personal funds and my inheritance, and efforts to preventme
from impeding this activity.

31. The plan hatched several years ago Was to give my gullible, easily manipulated younger sis-
ter Marian control over my parents’ affairs, while aggressively excluding me. My parents had moved to

1ndianapolis in 1986 to be near my son, their only grandchild 1n 2003 David F. Hamilton, using his

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false allegations that 1 am allegedly crazy based on the irrational behavior of Ora Hirsch Pescovitz, in-
duced my parents to give Marian, who did not reside even near Indianapolis, durable power of attorney
over their medical and financial affairs

32. ln 2006 Marian forcibly moved my parents from their independent condominium in Indian-
apolis to a retirement facility in Tacoma, Washington, near her home at the time My mother passed
away in their health care center.

33. Marian moved my father from Tacoma to the Cumberland at Green Hills (hereinafter, “Cum-
berlan ”) assisted living facility, located just across the street from the Blakeford, in January 2009, due
to her own job-related relocation

34. Ora Hirsch Pescovitz and Patricia Morrell have now devised some identity theft scheme in
which Morrell steals my identity and Ora Hirsch Pescovitz steals Marian’s identity. In this way, Ora
Hirsch Pescovitz has abused her status as an allegedphysician to inflict harmful “treatments” on my fa-
' ther, even though she lacks knowledge, training, and experience in geriatrics, and she is not licensed to
» practice medicine at all in Tennessee.

35 . Bram, Bienstock, Pescovitz, I-Iarnilton, and Adland have been in frequent contact with Mor-
rell in her home in Wilson County, Tennessee, in furtherance of their scheme to steal my father’s money
(and my inheritance). They apparently descended on Morrell’s residence, which is owned by Marian,
over Thanksgiving for a huge drug and sex orgy.

36. 1 (plaintiff) visited my father at the Cumberland in April 2009 and May 2009 and was fa-
vorably impressed with the facility. My father, then 91 years old, seemed to be settling in, despite the
stress of having been moved around the country like a piece of furniture The Cumberland does not ac-
cept Medicaid and is quite luxurious in appearance and amenities, so it might reasonably be concluded

that residents there are financially well off. My father has a trust fund that pays his living expenses

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37. Due to the proximity of the Blakeford and the Cumberland, it is likely that workers fre-
quently move from one facility to the other_ j

38. My father Was sent to the Blakeford’s Woodcrest health care center for rehabilitation in No-
vember 2009 after an alleged accidental fall and a short hospital stay. He was supposed to return to his
apartment at the Cumberland, which does not have a skilled nursing facility, within a few weeks 1n-
stead, he was sent to the Blakeford’s locked Memory Care Center and 1 was falsely informed that he had
passed away. Similarly to his treatment of me, David F. Hamilton has been trying to characterize my
father as demented.`

39. Disreputable nursing homes try to convert their patients into money machines by using ad-
dictive psychotropic drugs to turn them into helpless vegetables who generate significant revenue in
skilled nursing facilities while requiring minimal services Medical facilities are supposed to keep scru-
pulously accurate and detailed records of receipt and dispensing of controlled substances but these re-
quirements can easily be evaded through various schemes
D. Previous litigation

40. In order to obtain relief for the injuries described above, 1 have, since May 1997, pursued
litigation in state and federal court 1 have represented myself in every case to which 1 have been a party,
initially because Syndicate members had intimidated attorneys away from representing me, but subse-
quently because 1 enjoy studying and arguing law, as well as managing my own cases and devising my
own litigation strategies l

41. For each civil case that 1 initiated, 1 paid the.applicable filing/appellate docketing fee and
complied With the other requirements for initiating an action/appeal out of my own personal funds In so
doing, 1 have acquired a property interest in a fair hearing of my claims pursuant to the relevant statutes,

court rules, and judicial opinions

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42. 1 spent many hours researching the relevant procedural and substantive law and carefully
drafting my complaints and briefs 1 personally prepared all of the paperwork for service of process on
the defendants in my cases

43. T he Syndicate members who have been defendants in my cases have sabotaged all of my
cases by recruiting female identity thieves, particularly defendant Ora Hirsch Pescovitz, to submit
forged documents to courts in my name in place of my real filings, what constitutes the crime of unau-
thorized practice of law. Ora Hirsch Pescovitz also appeared in ex parte trials and hearings to which 1
was not invited, falsely representing that they are I. To accomplish this, they have instructed court clerks
to notify them as soon as 1 file a document, so that they can immediately submit in my name and on my
behalf to the judge, ex parte, a forgery containing bizarre, nonsensical, often pornographic ramblings.

44. Simultaneously, David F . Hamilton has encouraged attorneys to fraudulently take the credit
for my real legal work.

45 . With the encouragement of David F. Hamilton, Ora Hirsch Pescovitz has been permitted to
parasitize my filing fees, to secretly file parallel, really frivolous lawsuits in my name and without my
knowledge Unlike me, she has been represented by attorneys in this endeavor 1n order to steal my
money for themselves, defendants led by David F. Hamilton have used Pescovitz’s frivolous and
meritless “lawsuits” brought in my name to claim for themselves alleged “attorney fees” from me based
on the nonsense submitted by her. They will likely try to do the same in this action

46. Because of the defendants’ persistent fraud and forgeries, along with preventing me from en-
gaging in discovery to obtain evidence generally and intimidating witnesses from testifying, 1 did not
receive a full and fair opportunity to litigate any of the cases to which 1 was a party. 1 have had to file
responses to motions for summary judgment with only the very limited evidence already in my posses-

sion; no depositions requests for documents, or answers to my interrogatories permitted

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47. I-Ionest, competent judges have characterized my legal work as “better than some attorneys.”
Moreover, given that litigation is extremely expensive and 1 have very limited resources, 1 must choose
carefully what claims 1 will litigate, whom 1 will name as defendants, and what relief 1 hope to obtain

48. As part of the litigation 1 have filed numerous affidavits and verified motions in legal pro-
ceedings in federal courts beginning in November 1997 and continuing through December 2009, and
have testified orally. 1 have also submitted complaints to the U.S. Postal 1nspection Service and the Fed-
eral Trade Commission Thus, 1 have been a witness, informant, and party in federal official proceed-
ings.

lV. STATEMENT OF LEGAL CLAIM

49. 1 (plaintiff) support the following claims by reference to the previous paragraphs of this
complaint

50. Count I. Racketeering: Defendants have used money acquired from a pattern of racketeering
activity to establish an enterprise and maintain an interest in an enterprise that engages in interstate
commerce They have conducted the`enterprise’s affairs through a pattern of racketeering activity de-
signed to deprive plaintiff of her own money and other property, including her inheritance from her fa-,
ther, to divert the money to themselves, activities prohibited by 18 U.S.C. §1962 (c) and (d). Predicate
offenses include the following: b

a. Mail fraud, 18 U.S..C. § 1341: David F. 1-1amilton, Ora Hirsch Pescovitz, Eric Bram,
Patricia Morrell, and Amold Bienstock, having devised a scheme to defraud me of my property: my con-
tractual interest in peacefully participating in worship and other religious activities at the Indianapolis
Hebrew Congregation as a dues-paying member, sent a letter to me dated January 22, 1999 via United
States mail falsely alleging that 1 had committed crimes that they have admitted were really committed

by Ora Hirsch Pescovitz.

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b. Mail fraud: Having devised a scheme to defraud me of my property interest in worshipping
at the 1ndianapolis Hebrew Congregation defendants David F. Hamilton, Ora Hirsch Pescovitz, Eric
Bram, Patricia Morrell, and Arnold Bienstock sent me a letter dated June 12, 2000 and which 1 received
on June 17, 2000, threatening me with arrest for going to the Indianapolis Hebrew Congregation
thereby communicating the false information that 1 was disruptive when they knew that it is really Ora
Hirsch Pescovitz who was perpetrating destructive acts in my name

c. Mail fraud: David F. Hamilton, Ora Hirsch Pescovitz, `Eric Bram, Jonathan Adland,
Patricia Morrell, and Arnold Bienstock, having devised a scheme to defraud me of my membership in
Beth-El, sent me a letter dated February 13, 2004 by U.S. Postal Service purporting to be_from the Beth-
El president and falsely alleging that 1 had been denied membership by a unanimous vote of the board of
directors but was not from the Beth-El president, as the signature and title designation were not his
Moreover, two members of the board had already welcomed me to membership in December 2003.

d. Mail fraud: David F. Hamilton, Ora Hirsch Pescovitz, Eric Bram, Jonathan Adland,
Patricia Morrell, and Amold Bienstock, having devised a scheme to defraud me of my First Amendment b
right to worship at Beth-El sent me a letter dated April 28, 2005 on Beth-El letterhead purporting to
have been written by the president of Beth-El but containing a forged signature, by U.S. Postal Service,
falsely alleging that 1 sent them a threatening letter, when they had really recruited identity thieves to
send a threatening letter, to which my name had been forged.

e. Mail fraud: David F. Hamilton, Ora Hirsch Pescovitz, Eric Bram, Jonathan Adland,
Patricia Morrell, and,Arnold Bienstock, having devised a scheme to defraud me of my property interest `
in Worshipping at Congregation B’nai Torah, for which 1 had paid, sent me a letter dated February 7,
2008 via U.S. Postal service falsely alleging that 1 had engaged in “irrational behavior” meriting exclu-

sion from B’nai Torah and that the decision had been made by the B’nai Torah Board of Directors, Ora

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Hirsch Pescovitz who had engaged in irrational behavior using my name, and the decision to exclude me
had been made by defendants not the B’nai Torah Board of Directors'

f. Mail fraud, wire fraud: On or about December 12, 2002 Defendants Pescovitz, Bienstock,
Bram, Adland, Morrell, and Hamilton, having devised a scheme for obtaining of $9,540.94 in assets
from my personal financial account on false premises that 1 allegedly file frivolous lawsuits when it is
C)ra Hirsch Pescovitz who files frivolous lawsuits using my name, unlawfully authorized removal of the
funds from my account and payment to them in my name and then sent me by U.S. Postal Service a no-
tice falsely alleging that 1 had authorized the payment

g. Mail fraud, wire fraud: On or about June 13, 2003, Pescovitz, Bienstock, Adland, Morrell,
and Hamilton, having devised a scheme for obtaining $22,502.43 in assets from my personal financial
account on false premises that 1 allegedly file frivolous lawsuits when it is Ora Hirsch Pescovitz who
files frivolous lawsuits using my name, unlawfully authorized removal of the funds from my account
and payment to them in my name and then sent me by U.S. Postal Service a notice falsely alleging that 1
had authorized the payment

h. Mail fraud, wire fraud: On or about lune 19, 2003 Pescovitz, Hamilton, Bienstock, Ad-
land, and Morrell, having devised a scheme for obtaining $7,496.65 in assets from my personal financial
account on false premises that 1 allegedly file frivolous lawsuits when it is Ora Hirsch Pescovitz who
files frivolous lawsuits using my name, unlawfully authorized removal of the funds from my account
and payment to them in my name and then sent me by U.S. Postal Service a notice falsely alleging thatl
had authorized the payment

i. Retaliation against Witness 18 U.S.C. § 1513: On June 26, 2003 1 initiated case no. 1;03-
CV-0952-DFH-TAB in the U.S. District Court for the Southern District of Indiana, and filed an

amended complaint on July 3, 2003. Thus 1 submitted documents in an official proceeding In retalia-

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tion on or about July 9, 2003, Pescovitz, Hamilton, Bienstock, Adland, and Morrell, took $34,467.91 in
assets out of my financial account, thereby damaging my tangible property.

j. Mail fraud, wire fraud: On or about July 9, 2003 Defendants Pescovitz, Bienstock, Adland,
Bram, Morrell, and Hamilton having devised a scheme for obtaining $34,467.91 in assets from my Pru-
dent:ial account on false premises that 1 allegedly file frivolous lawsuits when i_t is Ora Hirsch Pescovitz
who files frivolous lawsuits using my name, unlawfully authorized removal of the funds from my ac-
count and payment to them in my name and then sent me by United States mail a notice falsely alleging
that 1 had authorized the payment k

k. Retaliation against Witness/party: Defendants Pescovitz, Bienstock, Adland, Morrell, and
Harnilton employed a forged “order” dated May 20, 2005 in Southern District of 1ndianacase number
1:04-cv-O945-RLY-TAB to threaten to take $12,670.29 of my money as alleged “attorney fees” for legal
services which 1 neither requested nor received, thereby threatening to damage my tangible property, in
retaliation for testimony that 1 gave in the case, to which 1 am also a party.

1. Retaliation against witness On or about July 18, 2005 defendants Pescovitz, Bienstock,
Bram, Adland, Morrell, and Hamilton took $5,341.55 in assets from my account, removing the funds
Without my permission in retaliation for my testimony in Southern District of Indiana case number
l:04-cv-0945-RLY-TAB.

m. Mail fraud, wire fraud: On or about July 18, 2005 defendants Defendants Pescovitz, Bien-
stock, Bram, Adland, Morrell, and Hamilton, having devised a scheme for obtaining $5,341.55 in assets
from my personal financial account on false premises that 1 allegedly file frivolous lawsuits when it is
Ora Hirsch Pescovitz who files frivolous lawsuits using my name, unlawfully authorized removal of the
funds from my account and payment to them in my name and then sent me by U.S. Postal Service a no-

tice falsely alleging that 1 had authorized the payment

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n. Wire fraud, misuse of identification in interstate commerce: During the period September
2004 through July 2006, defendant David F. Hamilton, having devised a scheme to defraud me of relief
for meritorious legal claims and of employment for Which 1 am qualified, published on the general 1n-
temet (i.e. outside of the federal courts’ official PACER system) in interstate commerce, for the purpose
of executing his scheme, written falsehoods that 1 allegedly file frivolous lawsuits and that 1 am alleg-
edly mentally ill, when it is really Ora Hirsch Pescovitz who files frivolous lawsuits using my name and
is mentally ill. The opinion came up as one of the first results in a Google search of my name

o. Wire fraud: Defendants Ora Hirsch Pescovitz, Patricia Morrell, and Arnold Bienstock,
having devised a scheme to defraud my (plaintiff’s) son out of his rightful undergraduate grades to im-
pair his ability to gain admission to medical school and become gainfully employed, intimidated staff in
the office of the registrar of the University of Michigan to falsify his grades during the period 2007-
2009, to make them lower than he actually earned, and to send the falsified grades electronically in in-
terstate commerce

p. Wire fraud: During the period June 2007 through July 2008, defendants Ora Hirsch Pesco-
vitz, Patricia Morrell, Arnold Bienstock, and David F. Hamilton falsified my son’s Medical College
Admission Test scores causing them to be reported lower than he actually earned, and sent them via
Wire in interstate commerce, with intent to deceive him and medical schools that may consider him for
admission

q. Murder: 1n October 2007 Ora Hirsch Pescovitz and Patricia Morrell intentionally caused
the death of my mother with an overdose of a narcotic painkiller, propofol, Seroquel, or other dangerous
controlled substance

r. Kidnapping: During the period November 2008 through January 2009, defendants Blake-

ford, Cluck, Morrell, Hamilton Pescovitz, Bienstock, Adland, and Bram, conspired to forcibly move my

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father from Tacoma, Washington to Nashville, Tennessee, where they would be able to control him and
his assets

s. Wire fraud: 1n October-November 2009 defendants Pescovitz, Harnilton, Bienstock, Ad-
land, Bram, and Morrell, having devised a scheme to defraud me out of my inheritance, sent via wire to
' Davidson County, Tennessee Probate Court false allegations that 1 allegedly file frivolous lawsuits when
it is really Ora Hirsch Pescovitz who files frivolous lawsuits

t. Extortion (Tennessee Code § 34-14-112): Defendants Blakeford, Cluck, Bepko, Hamilton
Bienstock, Adland, Bram, and Morrell used coercion on Davidson County Probate Court Judge David
Randall Kennedy in November 2009 to induce him to unnecessarily appoint Marian as conservator for
my father, to prevent me from hosting him in my home and more generally from interacting with him at
all.

u. Kidnapping: Agents of defendants Blakeford, and Cluck, in collaboration with Morrell,
Adland, and Bienstock, intentionally pulled my father out of bed in the early morning hours of Novem-
ber 10, 2009 and pushed him down to break his hip, to forcibly move him to the hospital and then to the
Blakeford for rehabilitation With intent to enrich themselves with money from him and from Medicare.

v. Extortion: During the period November 13, 2009 through November 20, 2009, defendants
Blakeford, Cluck, and Johnstone used coercion to restrict my freedom of action to telephone my father
and speak with him.

w. Mail fraud (18 U.S.C. § 1341): Defendants Blakeford, Cluck, Pescovitz, Hamilton Bien- a
stock, Adland, Bram, and Morrell, having devised a scheme for obtaining my father’s money by false
pretenses forged a physician’s signature to a death certificate falsely alleging that my father had passed

away and sent it to me (plaintiff`) by Postal Service on or about December 14, 2009.

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x. Extortion: Defendants Blakeford, Cluck, Pescovitz, Hamilton Bienstock, Adland, Bram,
and Morrell used coercion on Marian to force her to send the fraudulent death certificate on December
14, 2009, in order to cause it to appear more authentic and therefore more likely to defraud me.
y. Dealing in controlled substance: During the period April 2009 up to the present, defen-
dants Blakeford, Cluck, Pescovitz, Hamilton Bienstock, Adland, Bram, and Morrell have forced my fa-
ther to unnecessarily take the dangerous psychotropic drug Seroquel. Seroquel has been approved by the
federal Food and Drug Administration for treatment of schizophrenia and bipolar disorder, neither of
which afflicts my father. AstraZeneca, the manufacturer, has included the following warning promi-
nently in its advertising: b
“Elderly patients with dementia-related psychosis (having lost touch with reality due to
confusion and memory loss) treated with this type of medicine are at an increased risk of
death, compared to placebo (sugar pill). SEROQUEL XR rs not approved for treating
these patients.”

[emphasis added]. My father also does not have dementia-related psychosis

z. Extortion: Defendants Blakeford, Cluck, Pescovitz, Hamilton Bienstock, Adland, Bram,
and Morrell are using coercion on my father to unlawfully restrict his freedom of action

aa. Conspiracy to commit murder: Defendants Blakeford, Cluck, Pescovitz, Hamilton Bien-
stock, Adland, Bram, and Morrell are giving my father Seroquel in order to slowly cause his death, and
to make it easier to give him a lethal overdose when his trust fund is depleted and he is no longer useful
to them.

bb. Bribery: Defendants Blakeford and Cluck are paying money to government inspectors to
disregard discrepancies in controlled substance intake and dispensing records and evidence of abuse and
exploitation of patients

cci Retaliation against witness/party: To punish me for pursuing litigation in July-August

2007, defendants Ora Hirsch Pescovitz, Arnold Bienstock, David F. Hamilton and Patricia Morrell in-

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duced my next door neighbor to set up a trap with bait to lure my companion pet cats, one at a time,
from my property on to theirs and into the trap, after which they tortured each cat to death, thereby tak-
ing my property. v

51. Count II. False imprisonment Defendants Blakeford and Cluck are keeping my father
locked up in their ‘fMemory Care Center” to prevent his interaction with me, his daughter.

52. Count l]I. Intentional infliction of emotional distress Defendants Blakeford, Cluck, Pesco-
vitz, Hamilton Bienstock, Adland, Bram, and Morrell have, during the period December 2, 2009 up to
the present, falsely alleged to me that my father is deceased and was incinerated in order to cause me
severe emotional distress

53. Count IV. Fraud: Defendants Pescovitz, Hamilton Bienstock, Adland, Bram, and Morrell,
with intent to deceive both me and other College Park homeowners have placed my name on the ballot
for election to the College Park Board of Directors in February 2010 along with another candidate for
the position but are secretly having Patricia Morrell tell all other College Park Club members in my
name that 1 allegedly neither own a home nor reside in College Park.

V. PRAYER FOR RELIEF
_ 54. Based on the foregoing, 1 (plaintiff) respectfully request that the Court order the following
relief: l

5 5 . That'Blakeford and Van Cluck immediately release Julian Herz to the Cumberland or other
humane assisted living facility. 1 (plaintiff Carolyn Herz Srivastava) want my father to reside with me,
so he will spend his remaining years among loving family, rather than among abusive strangers How-
ever, 1 cannot take him in right now, as it Will require time to prepare my home to accommodate his

needs

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56. That Blakeford reflmd treble the amount of all payments collected from Julian Herz for his
stayin the Blakeford Memory Care Center,_ including but not limited to payments for accommodations
meals provider medical services supplies and pharmaceuticals administered

57. That defendants Pescovitz, Bienstock, Bram, Adland, Morrell, and Hamilton pay me treble
damages for all of my money that they have taken

_ 5 8. Enjoin defendants from all direct or indirect contact with my father Julian Herz and my son
Benj amin Srivastava.

59. Enj oin all defendants from entering or interfering in the affairs of my neighborhood College
Park.

60. Punitive damages

61. Any other relief that the Court may deem proper.

VI. AFFIRMATION OF PLA]NTIFF
1, the plaintiff in the aforementioned cause, do affirm that 1 have read all of the statements con-

tained in the complaint and that 1 believe them to be, to the best of my personal knowledge, true and cor-

Signed this 2 \Z¢Qday of $!,'@¢¢g 1 act 5¢ , 2010.

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rect.

l

Carolyn Herz Srivastava, Ph.D., Plaintiff
3105 Lehigh Court

Indianapolis, IN 46268

(317) 876-0421

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